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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 17-1529V
                                         UNPUBLISHED


 RYAN THOMPSON,                                               Chief Special Master Corcoran

                         Petitioner,                          Filed: November 22, 2019
 v.
                                                              Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                      Ruling on Entitlement; Uncontested;
 HUMAN SERVICES,                                              Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

       On October 16, 2017, Ryan Thompson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Shoulder Injury Related to Vaccine
Administration (SIRVA) after receiving the influenza vaccine on October 6, 2016.
Petition at 1-3. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On June 18, 2018, Respondent filed a status report stating that “[m]edical
personnel have reviewed the records filed in this case and have recommended that the
parties explore informal settlement.” ECF 23. After attempting informal resolution for

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am

required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for

ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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almost one year, Petitioner filed a status report stating that “Petitioner is under the belief
that Respondent has a fact issue in this case with regard to onset of symptoms.” ECF
42. After allowing the parties to file any additional evidence or memoranda relevant to
onset, former Chief Special Master Dorsey issued a ruling “find[ing] the onset of
petitioner’s shoulder injury related to vaccine administration (“SIRVA”) occurred within
48 hours of vaccination. ECF 46. Special Master Dorsey also ordered Respondent to
file a Rule 4(c) report. Id.

        On November 12, 2019, Respondent filed his amended Rule 4(c) report in which
he states that he does not contest that Petitioner is entitled to compensation in this
case. Respondent’s Rule 4(c) Report at 3. Specifically, Respondent states that “[i]n light
of the Court’s fact ruling, and medical evidence submitted in this case, DICP has
concluded that petitioner suffered SIRVA as defined by the Vaccine Injury Table. Id.
Respondent further states, “based on the record as it now stands and subject to his
right to appeal the Findings of Fact, respondent does not dispute that petitioner has
satisfied all legal prerequisites for compensation under the Act.” Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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